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UNITED STATES COURT OF INTERNATIONAL TRADE                                              FORM 1

 STMicroelectronics, Inc.

                                   Plaintiff,                          S U M M O N S Court No. 21-00106
           v.

 UNITED STATES,
                                   Defendant.

TO:        The Attorney General and the Secretary of Homeland Security:

       PLEASE TAKE NOTICE that a civil action has been commenced pursuant to 28
U.S.C. § 1581(a) to contest denial of the protest specified below (and the protests listed in the
attached schedule).
                                                        /s/ Mario Toscano
                                                       Clerk of the Court


                                                 PROTEST
 Port of
 Entry:         Los Angeles (2704)                      Date Protest
                                                        Filed:         2/4/2020
 Protest
 Number:        2704-20-110905                          Date Protest
                                                        Denied:
                                                                       09/15/2020

 Importer:      STMicroelectronics, Inc.
 Category of
 Merchandise:
                   Electronic Components

                            ENTRIES INVOLVED IN ABOVE PROTEST
      Entry              Date of            Date of         Entry                Date of         Date of
     Number               Entry           Liquidation      Number                 Entry        Liquidation
 004-0678020-6          2/11/2019         1/10/2020
004-0688311-7           3/11/2019         2/7/2020
004-0690806-2           3/14/2019         2/7/2020
004-0693019-9           3/20/2019         2/14/2020

                                                        Douglas N. Jacobson
Port Director,                                          Jacobson Burton Kelley PLLC
                                                        1725 I Street, NW, Suite 300
U.S. Customs and Border Protection                      Washington, DC 20006
301 E. Ocean Blvd.                                      Tel: (202) 431-2407
                                                        Email: djacobson@jacobsonburton.com
Long Beach, CA 90802
Address of Customs Port in                                 Name, Address, Telephone Number
Which Protest was Denied                                   and E-mail Address of Plaintiff's Attorney
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                                       CONTESTED ADMINISTRATIVE DECISION

                                                      Appraised Value of Merchandise
                                                              Statutory Basis                                                Statement of Value

 Appraised:




 Protest Claim:



                                                        Classification, Rate or Amount
                                                               Assessed                                                           Protest Claim
                                  Paragraph or                                                                 Paragraph or
    Merchandise                   Item Number                                           Rate                   Item Number                                    Rate
 Electronic                      8541.29.0095                                 0.0% (Free) + 8541.29.0095,     0.00%
 Components                      with China                                   25%           Excluded from     (Free)
                                 Section 301
                                 tariffs                                                    China Section 301
                                 assessed per                                               tariffs per
                                 9903.88.01                                                 9903.88.14.


                                             Other
 State Specifically the Decision [as Described in 19 U.S.C. § 1514(a)] and the Protest Claim:



 The issue which was common to all such denied protests:
  (1) incorrect classification and duty rate of duty applied at liquidation, including incorrect assessment of China Section 301 tariffs imposed pursuant to Section 301 of
  the Trade Act of 1974 that was subject to a retroactive exclusion granted by USTR on September 29, 2019; (2) CBP has not issued refunds to Plaintiff on 3 of the 4
  entries and has issued a partial refund on one entry; and (3) Improper denial of protest on certain entries on grounds that the protest was filed prior to liquidation.



Every denied protest included in this civil action was filed by the same above-named importer, or by an authorized person
in the importer's behalf. The category of merchandise specified above was involved in each entry of merchandise included
in every such denied protest. The issue or issues stated above were common to all such denied protests. All such protests
were filed and denied as prescribed by law. All liquidated duties, charges or exactions have been paid, and were paid at
the port of entry unless otherwise shown.

                                                                             Douglas N. Jacobson
                                                                 ___________________________________
                                                                              Signature of Plaintiff's Attorney
                                                                   March 15, 2021
                                                                   __________________________________________________________
                                                                                                Date
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                                           SCHEDULE OF PROTESTS
        __________________________
                 Port of Entry

  Protest                 Date Protest   Date Protest     Entry              Date of           Date of
  Number                   Filed          Denied          Number             Entry            Liquidation




 Port Director of Customs,
                                                             If the port of entry shown
                                                             above is different from the
                                                             port of entry shown on the
                                                             first page of the summons,
                                                             the address of the Port
                                                             Director for such different
                                                             port of entry must be given
                                                             in the space provided.



(As amended Sept. 30, 2003, eff. Jan. 1, 2004; Nov. 28, 2006, eff. Jan. 1, 2007; Dec. 7, 2010, eff. Jan. 1,
2011; July 17, 2017, eff. July 17, 2017; Oct. 25, 2017, eff. Oct. 25, 2017.)
